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                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
 TO: Mr. Kevin P. Weimer, Clerk                                   DATE: March 7, 2025
     United States District Court

 RE:    03-93031-WLH                                              Group Management Corp.
        Bankruptcy Case No.                                       Debtor(s)


                                                                  Ulysses T. Ware and Group
                                                                  Management
                                                                  Appellant

                                                                  vs
                                                                  Alpha Capital, AG, Stonestreet, L.P.,
                                                                  Markham Holdings,L.P., Amro
                                                                  International, S.A., Kilpatrick,
                                                                  Townsend, & Stockton, LLP, Dennis S.
                                                                  Meir, John W. Mills III, a J. Henry
                                                                  Walker, IV, Wab Kadaba, Kenneth A.
                                                                  Zitter, Arie Rabinowitz, LH Financial
                                                                  Services Corp., Konrad Ackermann,
                                                                  Joseph Hammer, Trailblazer Merger
                                                                  Corp., I, Wendy L. Hagenau, James H.
                                                                  Morawetz, the Office of the U.S. Trustee,
                                                                  Region 21, Mary Ida Townsend, M.
                                                                  Regina Thomas, Patricia Sinback,
                                                                  Margaret H. Murphy, Joyce Bihary,
                                                                  Coleman Ray Mullins, Securities and
                                                                  Exchange Commission, Financial
                                                                  Industry Regulatory Agency(FINRA),
                                                                  Barbara Ellis-Monro, Marcia E. Asquith,
                                                                  RobertL.D., Colby, Robert W. Cook,
                                                                  Emma Jones, Sarah Jeffries,The State
                                                                  Bar of Georgia, Office of the General
                                                                  Counsel, William D. NeSmith, III, Paula
                                                                  Frederick, Leigh Burgess, William Alan
                                                                  Myers, Adrienne Nash, Jenny
                                                                  Mittlemen,Jonathan Hewett, Patrick N.
                                                                  Arndt, Michael D. Hostetter,Nall &
                                                                  Miller, LLP, Manibur S. Arora, Edward
                                                                  T.M.Garland, Michael F. Bachner, David
                                                                  B. Levitt, Donald F.Samuel, Janice
                                                                  Singer, Alexander H. Southwell, Thomas
                                                                  W.Thrash, Jr., Michael P. Boggs,
                                                                  Thomas A. Leghorn,Lawrence B.
                                                                  Mandala, Baker & McKenzie, LLP,
                                                                  Robert H.Albaral, John F. King, and
                                                                  Office of the Georgia Insurance
                                                                  Commissioner., John Does Insurance
                                                                  Companies, ##1-5, Jeneane Treace,
                                                                  Assistant U.S. Trustee, Region 21
                                                                  Appellees




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                       SUPPLEMENTAL SUBMISSION                              SHEET


Submitted on:
☒      Notice of Appeal filed 02/03/2025- Doc. No. 279
       File date of Order being appealed from 5/21/2003, 10/24/22, 12/13/22 - Doc. No. 28,256,274,275
☒ Supplemental Record to USDC Case No. 25-cv-00613-MLB
☐ Other: Click here to enter text.

Contents of Record:
☒ Documents: 6,11,13,14,15,16,258,263,278,286,288,289,292,293,294, docket sheet

☒ Designated items of    ☒ Appellant(s)              ☐ Appellee
      Filing Fee Paid - ☒ Yes ☐ No



 If previous and/or related appeal filed, list:

 22-cv-01531-LDH-LB (District of New York)



 FROM: Vania S. Allen, Clerk of Court
       United States Bankruptcy Court

 By: /s/___________________________________
        Yahaira Lugo, Deputy Clerk




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